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 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:18-CR-00171-DAD-BAM
12                                Plaintiff,            STIPULATION AND ORDER TO CONTINUE
                                                        SENTENCING HEARING
13                         v.
                                                        DATE: October 21, 2019
14   ROY ALEJANDRO GARCIA PEREZ,                        TIME: 10:00 a.m.
                                                        COURT: Hon. Dale A. Drozd
15                               Defendant.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for status on October 21, 2019 at 10:00 am.

21          2.     By this stipulation, the United States and defendant now move to continue the sentencing

22 hearing until November 4, 2019 at 10:00 am.

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           Case 1:18-cr-00171-DAD-BAM Document 74 Filed 10/11/19 Page 2 of 2


 1          3.     Counsel for the government has a scheduling conflict that day, and the government and

 2 defense need additional time to review the presentence report and prepare for the sentencing hearing.

 3          IT IS SO STIPULATED.

 4

 5
     Dated: October 10, 2019                                MCGREGOR W. SCOTT
 6                                                          United States Attorney
 7
                                                            /s/ JEFFREY A. SPIVAK
 8                                                          JEFFREY A. SPIVAK
                                                            Assistant United States Attorney
 9
10
     Dated: October 10, 2019                                /s/ VICTOR CHAVEZ
11                                                          VICTOR CHAVEZ
12                                                          Counsel for Defendant
                                                            ROY ALEJANDRO GARCIA
13                                                          PEREZ
                                                            (Approved by telephone
14                                                          10/9/2019)
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17                                                  ORDER

18          The court has reviewed and considered the stipulation of the parties to continue the sentencing in

19 this case. Good cause appearing, the sentencing hearing as to the above-named defendant currently

20 scheduled for October 21, 2019, is continued until November 4, 2019, at 10:00 a.m.
21 IT IS SO ORDERED.

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        Dated:    October 11, 2019
23                                                    UNITED STATES DISTRICT JUDGE

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